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                UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

In re:                               §
                                     §              Chapter 11
Free Speech Systems LLC              §
                                     §        Case No. 22–60043 (CML)
   Debtor.                           §


                          EXHIBITS (PART 1)

         THE SANDY HOOK FAMILIES’ MOTION TO (I) APPOINT
         TORT CLAIMANTS COMMITTEE AND (II) REMOVE THE
                     DEBTOR IN POSSESSION

                           (Related to ECF 102)
